Case 0:19-cv-61272-RAR Document 1 Entered on FLSD Docket 05/20/2019 Page 1 of 9




                                  UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA

                                                           CASE NO.:

 TELISHA J. OLIGE,

                    Plaintiff,

    v.

 CITY OF PLANTATION, and JORDAN
 WOODSIDE, individually and in his
 capacity as a City of Plantation Police
 Officer,

             Defendants.
 ____________________________________/

                     VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL

           Plaintiff TELISHA J. OLIGE (“Ms. Olige” or “Plaintiff”) sues the CITY OF

 PLANTATION (the “City”) and JORDAN WOODSIDE (“Officer Woodside”) and states:

                                                     INTRODUCTION

           1.        This is a civil rights action on behalf of Ms. Olige whose rights under the Fourth

 Amendment to the United States Constitution were violated by Officer Woodside, an officer of

 the City of Plantation Police Department, while Officer Woodside was operating under color of

 authority for the City. Officer Woodside used excessive force against Ms. Olige, falsely arrested

 and falsely imprisoned Ms. Olige.

           2.        Ms. Olige seeks redress for the violations of her rights, privileges, and immunities

 as guaranteed by the Civil Rights Act of 1871, 42 U.S.C. § 1983, the Fourth Amendment to the

 United States Constitution, and the laws of Florida.

                                                 JURISDICTION AND VENUE

           3.        Jurisdiction of this Court arises under 28 U.S.C. § 1331, and 28 U.S.C. § 1343(a).


                                                                                                                       1|Page
                                                      Rodal Law, P.A.
         5300 N.W. 33rd Ave., Suite 219 ● Ft. Lauderdale, Florida 33309 ● Telephone (954) 367-5308 ● Facsimile (954) 900-1208
                                                          www.Rodallaw.com
Case 0:19-cv-61272-RAR Document 1 Entered on FLSD Docket 05/20/2019 Page 2 of 9




         4.        Supplemental jurisdiction over Ms. Olige’s additional state law claims is proper

 pursuant to 28 U.S.C. §1367(a) because they are inextricably related to Ms. Olige’s federal claims.

         5.        Venue in this District is proper under 28 U.S.C. § 1391(b) because all of the events

 and omissions complained of took place in the Southern District of Florida.

         6.        All conditions precedent to the maintenance of this action have been performed or

 have occurred prior to its institution.

                                                         PARTIES

         7.        Ms. Olige is a citizen of the United States, a resident of the State of Florida, of

 African American descent, and sui juris.

         8.        The City is a municipality duly incorporated and existing under the laws of the State

 of Florida. The City established and maintains the Plantation Police Department (“PPD”), as a

 constituent department or agency. The City is responsible, through its officers, employees,

 servants, and agents, for enforcing the regulations of the City and for ensuring that its officers,

 employees, servants, and agents obey the laws of the State of Florida and the United States.

         9.        At all times material, Officer Woodside was an employee of the City and employed

 by the City as a police officer with the PPD (#91822). At all times material, Officer Woodside was

 an employee and a sworn law enforcement officer of the PPD. Officer Woodside is being sued in

 his individual capacity. At all times material, Officer Woodside was acting as an agent and

 employee of the City and was acting under the color of state law.

         10.       In connection with the acts, practices and violations alleged below, Officer

 Woodside, while acting within the course and scope of his employment with the City, and under

 color of law, directly violated Ms. Olige’s clearly established constitutional rights as well as

 violated statutory and common law duties owed to Ms. Olige.


                                                                                                                     2|Page
                                                    Rodal Law, P.A.
       5300 N.W. 33rd Ave., Suite 219 ● Ft. Lauderdale, Florida 33309 ● Telephone (954) 367-5308 ● Facsimile (954) 900-1208
                                                        www.Rodallaw.com
Case 0:19-cv-61272-RAR Document 1 Entered on FLSD Docket 05/20/2019 Page 3 of 9




                             BACKGROUND AND GENERAL ALLEGATIONS

           11.       In this Background and General Allegations section, Ms. Olige provides the general

 substance of certain factual allegations. Ms. Olige does not intend that this section provide, in exact

 detail or necessarily in chronological order, any or all allegations. Ms. Olige intends that this

 section merely provide the City and Officer Woodside fair notice of the general nature and

 substance of her allegations.

           12.       On October 22, 2018, just after 10:00 p.m., Ms. Olige was driving through

 Plantation with her 6-year old daughter. As she drove west on Broward Blvd., Ms. Olige noticed

 a police car following her but thought nothing of it as she had nothing to hide or be concerned

 with.

           13.       Ms. Olige stopped at a red light, and Officer Woodside pulled up alongside her

 vehicle. Officer Woodside then put on his lights and pulled over Ms. Olige’s vehicle stating that

 he has seen her throw something from her vehicle 10 blocks back and was stopping her for littering.

           14.       Ms. Olige explained that she had her windows completely closed for the entire drive

 and could not have thrown anything out of a closed window.

           15.       Officer Woodside did not like being questioned by this innocent young black

 female and immediately ordered Ms. Olige to get out of the car. Officer Woodside yanked Ms.

 Olige out of her car, grabbing her by the arm and pushing her against her vehicle.

           16.       By this time, backup officers had arrived, including one female PPD officer. Instead

 of asking the female officer to pat down Ms. Olige, Officer Woodside did it himself and began

 rubbing Ms. Olige’s breasts as well as the inside of her upper thighs.

           17.       Shocked, scared, and horrified at the blatant sexual assault, Ms. Olige protested and

 requested that the female officer on scene search her person. Officer Woodside then aggressively


                                                                                                                       3|Page
                                                      Rodal Law, P.A.
         5300 N.W. 33rd Ave., Suite 219 ● Ft. Lauderdale, Florida 33309 ● Telephone (954) 367-5308 ● Facsimile (954) 900-1208
                                                          www.Rodallaw.com
Case 0:19-cv-61272-RAR Document 1 Entered on FLSD Docket 05/20/2019 Page 4 of 9




 pushed Ms. Olige toward the female officer.

        18.       Without cause, suspicion, or consent, Officer Woodside began searching Ms.

 Olige’s vehicle. Ms. Olige’s 6-year old daughter was made to sit there in shock and terror.

        19.       Ms. Olige begged Officer Woodside to allow her 6-year old daughter to be able to

 stand beside her, but once again, Officer Woodside denied her request.

        20.       Again, all of this over an alleged act of littering.

        21.       Seeking some justification for his illegal search and seizure, Officer Woodside

 claimed he smelled marijuana. However, despite an extensive search of Ms. Olige and her vehicle,

 he was unable to find any trace of marijuana. This is because Ms. Olige had not been smoking

 marijuana and it was a complete fabrication by Officer Woodside in attempt to justify his illegal

 actions.

        22.       Ultimately, Officer Woodside cited Ms. Olige for failure to drive in a single lane.

                                              COUNT I
                               FOURTH AMENDMENT - 42 U.S.C. § 1983
                                 (Ms. Olige against Officer Woodside)

        23.       Ms. Olige incorporates paragraphs 1 through 22 as if fully set forth herein.

        24.       At all times material, Ms. Olige had a constitutionally protected right to be free

 from unreasonable searches and seizures or from being subjected to a seizure or arrest without

 probable cause and maintained the right to be free from unlawful assault, protected rights under

 the Fourth and Fourteenth Amendments of the United States Constitution.

        25.       On October 22, 2018, Officer Woodside unlawfully detained and deprived Ms.

 Olige of her liberty, against Ms. Olige’s will, and without legal authority.

        26.       At no point in time did Officer Woodside have any reasonable or articulable

 suspicion, let alone probable cause, that would support a constitutional seizure or arrest of Ms.


                                                                                                                    4|Page
                                                   Rodal Law, P.A.
      5300 N.W. 33rd Ave., Suite 219 ● Ft. Lauderdale, Florida 33309 ● Telephone (954) 367-5308 ● Facsimile (954) 900-1208
                                                       www.Rodallaw.com
Case 0:19-cv-61272-RAR Document 1 Entered on FLSD Docket 05/20/2019 Page 5 of 9




 Olige.

          27.     On October 22, 2018, without any reasonable or articulable suspicion, and without

 probable cause, Officer Woodside caused Ms. Olige to be detained, arrested, and searched, all of

 which were in violation of clearly established law.

          28.     At all times material, any reasonably competent officer having a reasonable degree

 of training and expertise should have known that there was no constitutional or legally justifiable

 basis to stop and search Ms. Olige.

          29.     At all times material, it was a clearly established violation of Ms. Olige’s

 constitutional right to be free from unreasonable searches and seizures to be subjected to a search

 and arrest, when no reasonable or articulable suspicion or probable cause of any criminal activity

 existed to seize or arrest Ms. Olige.

          30.     At all times material, Officer Woodside, in arresting Ms. Olige concealed,

 suppressed, omitted and mischaracterized material facts, statements, and otherwise evidence, of

 which Officer Woodside had knowledge, in violation of Ms. Olige’s rights of due process.

          31.     At all times material, Officer Woodside did knowingly, or with reckless disregard

 for the truth, prepare, caused to be prepared, or participated in the preparation of, an intentionally

 false and misleading report to support his unconstitutional arrest and search of Ms. Olige.

          32.     At all times material, any reasonably competent law enforcement officer with

 adequate training should have known that the actions being taken, with respect to the siezure and

 search of Ms. Olige were improper and likely to result in the violation of the constitutional rights

 of Ms. Olige.

          33.     On October 22, 2018, Officer Woodside intended to cause, and did cause, offensive

 contact with, and unconsented touching of, the body of Ms. Olige, while acting under the color of


                                                                                                                    5|Page
                                                   Rodal Law, P.A.
      5300 N.W. 33rd Ave., Suite 219 ● Ft. Lauderdale, Florida 33309 ● Telephone (954) 367-5308 ● Facsimile (954) 900-1208
                                                       www.Rodallaw.com
Case 0:19-cv-61272-RAR Document 1 Entered on FLSD Docket 05/20/2019 Page 6 of 9




 law.

          34.       At all times material, it would have been readily apparent to a reasonably competent

 and trained police officer, having due regard for Ms. Olige’s constitutional rights, that the use of

 physical force employed against Ms. Olige, without her offering any physical threat or resistance,

 was unjustified, unwarranted, and otherwise a violation of clearly established law and Ms. Olige’s

 constitutional rights.

          35.       As a direct and proximate result of the seizure, search, assault, and battery, Ms.

 Olige has suffered pain and suffering, mental anguish, emotional distress, and loss of capacity for

 the enjoyment of life.

          WHEREFORE, Plaintiff TELISHA J. OLIGE, respectfully, seeks entry of final judgment

 against Defendants JORDAN WOODSIDE for compensatory and punitive damages, as well as,

 costs, and attorney fees and such other relief that the Court deems just and proper.

                                                    COUNT II
                                                 State Law Torts
                                       (Ms. Olige against Officer Woodside)

          36.       Ms. Olige incorporates paragraphs 1 through 22 as if fully set forth herein.

          37.       This is an action, under the common law of the State of Florida, for battery, assault,

 and false imprisonment. Such claims arise from a common nucleus of operative facts as the

 violations of 42 U.S.C. § 1983, as set forth above.

          38.       On or about October 22, 2018, Officer Woodside caused Ms. Olige to be detained,

 searched, and deprived Ms. Olige of her liberty, against her will and without legal authority to do

 so, despite her desires to leave. Officer Woodside’s actions of causing Ms. Olige to be seized and

 searched were unreasonable and unwarranted under the circumstances, and were against Ms.

 Olige’s will, and without legal authority.


                                                                                                                      6|Page
                                                     Rodal Law, P.A.
        5300 N.W. 33rd Ave., Suite 219 ● Ft. Lauderdale, Florida 33309 ● Telephone (954) 367-5308 ● Facsimile (954) 900-1208
                                                         www.Rodallaw.com
Case 0:19-cv-61272-RAR Document 1 Entered on FLSD Docket 05/20/2019 Page 7 of 9




         39.       Officer Woodside, acting in the course and scope of his employment as a full time

 Police Officer for PPD, did intentionally touch, batter, and strike Ms. Olige against her will,

 without her permission, and in a harmful and/or offensive manner.

         40.       Ms. Olige was offensively touched, battered and stricken beyond the degree

 inherent in ordinary incidents of arrest and the touching was not incident to any lawful arrest.

         41.       That at said time and place, Ms. Olige was subjected to unwanted physical contact

 due to Officer Woodside’s actions.

         42.       As a direct and proximate result of the battery, assault, and false imprisonment, Ms.

 Olige has suffered bodily injury, pain and suffering, mental anguish, and loss of capacity for

 enjoyment of life. These injuries and losses are permanent and continuing, and Ms. Olige will

 suffer such losses in the future.

         43.       Ms. Olige has complied with all conditions precedent pursuant to Fla. Stat. 768.28

 prior to filing this action.

         WHEREFORE Plaintiff, TELISHA J. OLIGE, seeks entry of final judgment against

 Defendant, JORDAN WOODSIDE, for compensatory and punitive damages, as well as, costs, and

 such other relief that the Court deems just and proper.

                                                    COUNT III
                                                  State Law Torts
                                            (Ms. Olige against The City)

         44.       Ms. Olige incorporates paragraphs 1 through 22 as if fully set forth herein.

         45.       On or about October 22, 2018, Officer Woodside, acting in the course and scope of

 his employment as a police officer for the City, and with malice, bad faith or wanton or willful

 disregard for the safety of Ms. Olige’s well-being, caused her to be falsely detained and searched.

         46.       Officers Woodside deprived Ms. Olige of her liberty, against her will and without


                                                                                                                     7|Page
                                                    Rodal Law, P.A.
       5300 N.W. 33rd Ave., Suite 219 ● Ft. Lauderdale, Florida 33309 ● Telephone (954) 367-5308 ● Facsimile (954) 900-1208
                                                        www.Rodallaw.com
Case 0:19-cv-61272-RAR Document 1 Entered on FLSD Docket 05/20/2019 Page 8 of 9




 legal authority to do so, despite her desires to leave. Officers Woodside’s actions of causing Ms.

 Olige to be detained and searched were unreasonable and unwarranted under the circumstances,

 and were against Ms. Olige’s will, and without legal authority.

         47.       The City is responsible for Officers Woodside’s actions in that the battery, assault,

 and false imprisonment were intentional and were committed within the course and scope of

 Officer Woodside’s employment with PPD, such that the doctrine of respondeat superior applies

 to this action. “Under Florida law, an employee acts within the scope of his employment ‘if his act

 is of the kind he is employed to perform, it occurs substantially within the time and space limits of

 employment and it is activated at least in part by a purpose to serve the master. Lozada v. Hobby

 Lobby Stores, Inc., 702 Fed. Appx. 904, 909 (11th Cir. 2017)(internal citations omitted).

         48.       As a direct and proximate result of the above torts, Ms. Olige has suffered bodily

 injury, pain and suffering, mental anguish, and loss of capacity for enjoyment of life. These injuries

 and losses are permanent and continuing, and Ms. Olige will suffer such losses in the future.

         49.       Ms. Olige has complied with all conditions precedent pursuant to Fla. Stat. 768.28 1

 prior to filing this action.

         WHEREFORE Plaintiff, TELISHA J. OLIGE, seeks entry of final judgment against

 Defendant, CITY OF PLANTATION, for compensatory and punitive damages, as well as, costs,

 and such other relief that the Court deems just and proper.

                                          DEMAND FOR JURY TRIAL

         Plaintiff, TELISHA J. OLIGE, hereby demands a trial by jury of all issues so triable.



 1
  The “argument that bad faith is inherent in Plaintiff’s claim against the County for false arrest and imprisonment—
 and that the claim must therefore be dismissed under § 768.28(9)—is without merit. Vega v. Enamorado, 2007 WL
 9702731, at fn. 9 (S.D. Fla. 2007)(Ungaro, J.)



                                                                                                                     8|Page
                                                    Rodal Law, P.A.
       5300 N.W. 33rd Ave., Suite 219 ● Ft. Lauderdale, Florida 33309 ● Telephone (954) 367-5308 ● Facsimile (954) 900-1208
                                                        www.Rodallaw.com
Case 0:19-cv-61272-RAR Document 1 Entered on FLSD Docket 05/20/2019 Page 9 of 9
